                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 JANE DOES 1–4,
                                                      Civil Action File No.
              Plaintiffs,
                                                      1:21-cv-04278-WMR
                  v.
 RED ROOF INNS, INC., et al.

              Defendants.

        ORDER DISMISSING THE REMAINING CLAIMS AGAINST
          DEFENDANT VARAHI HOTEL, LLC WITH PREJUDICE
   This matter is before the Court on the Motion of Plaintiffs Jane Doe 1 and Jane

Doe 2 and Defendant Varahi Hotel, LLC seeking the dismissal with prejudice of

all remaining claims against Varahi. Jane Doe 1 and Doe 2 are the only the
Plaintiffs with claims against Varahi; thus, dismissal of those claims will result in

the dismissal of Varahi in its entirety.

   Movants correctly note that an Order of the Court is required to effectuate the
requested dismissal as what is sought is dismissal of all claims against one party,

but not all parties, and they, therefore, may not use Fed. R. Civ. P. 41 to voluntarily

dismiss only Varahi from this suit. Therefore, Movants request that the Court

exercise its discretion under Fed. R. Civ. P. 21 to drop a party. See Fed. R. Civ. P.

21 (“On motion or on its own, the court may at any time, on just terms, add or drop

a party.”).




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   Having reviewed the Motion, the Court finds it should be GRANTED. All
remaining claims against Defendant Varahi Hotel, LLC are hereby dismissed with

prejudice, and it is dismissed with prejudice from this suit. Each side shall bear its

own costs.
   The Clerk is INSTRUCTED to mark Defendant Varahi Hotel, LLC as a

terminated party and remove its counsel from the Court’s CM/ECF distribution

list in this case.

   SO ORDERED, this 31st day of August 2023.




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